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                                                                  ENTERED
                                                                   08/19/2009
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                                CERTIFICATE OF NOTICE
 District/off: 0541-4                  User: lfil                         Page 1 of 1                          Date Rcvd: Aug 19, 2009
 Case: 09-35043                        Form ID: pdf002                    Total Noticed: 2

 The following entities were noticed by first class mail on Aug 21, 2009.
 db           +Yolanda Carlette Lawson,   10373 N. Sam Houston Pkwy E. # 937,  Humble, TX 77396-4454
 cr            Nuvell Credit Company LLC,   PO Box 130156,   Roseville, MN 55113-0002
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 21, 2009                                       Signature:
